
731 A.2d 438 (1999)
354 Md. 329
In the Matter of the Application of Christina Mathurin HERSH for Admission to the Bar of Maryland.
Misc. No. 6, Sept. Term, 1999.
Court of Appeals of Maryland.
June 9, 1999.
Karl G. Feissner, Upper Marlboro, for applicant.
Argued Before BELL, C.J., and ELDRIDGE, RODOWSKY, RAKER, WILNER, CATHELL, and ROBERT L. KARWACKI (retired, specially assigned), JJ.

ORDER
BELL, Chief Judge.
The Court having considered the favorable recommendation of the State Board of Law Examiners for admission to the Bar of Maryland of the applicant, Christina Mathurin Hersh, the adverse recommendation of the Character Committee for the Seventh Judicial Circuit as to the applicant's admission, the exception to the Board's recommendation filed by the Character Committee, and the oral argument of applicant's counsel presented at a show cause hearing held before this Court on June 7, 1999, it is this 9th day of June, 1999
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that the favorable recommendation of the State Board of Law Examiners be, and it is hereby, rejected and the adverse recommendation of the Character Committee be, and it is hereby, accepted and Christina Mathurin Hersh is denied admission at this time to the Bar of Maryland. *439 *440
